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                      IN THE UNITED STATES DISTRICT COURT[j.S. D:sT ;V .uURT
                                                             /.'.'GUSVA DP/.
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                                                                   ZQZO OCT 21 P 2’ 5^
                                  DUBLIN DIVISION

                                                                      S Ch. I Or   ■ GA.
AARON DEMOND TRICE,                        )
                                           )
             Plaintiff.                    )
                                           )
       V.                                  )          CV 320-046
                                           )
GEORGIA DEPARTMENT OF                      )
CORRECTIONS; TELFAIR MEDICAL               )
STAFF/TELFAIR ADMINISTRATION;              )
WARDEN FNU BEASLY; COUNSELOR               )
VERONICA STEWART; CAPT. FNU      )
'FHOMAS; TELFAIR STATE PRISON;   )
SERGEANT FNU TILLMAN; LT. FNU    )
CLARIC; DEPUTY OFFICER FNU       )
WILCOX; DEPUTY OFFICER FNU HART;)
SUPERINTENDENT FNU SHEPPARD;     )
WARDEN JACOUB BEASLEY; DEPUTY )
FNU REITH; DEPUTY FNU WIICER;    )
CAPTAIN KARRIE THOMAS;           )
COUNSELOR FNU MENTZ; NURSES-     )
MEDICAL STAFF; DEPUTY OFFICER    )
FNU I-IALL; COMMISSIONER TIMOTHY )
WARD; MRS. FNU HUNT; MEDICAL     )
CONTRACTOR TELFAIR STATE PRISON;)
and MRS. FNU SHOWERS,            )
                                 )
            Defendants.          )


                                      ORDER




      After a careful, de novo review of the file, the Court concurs with the Magistrate

.ludge's Report and Recommendation, to which no objections have been filed. Accordingly.

the Court ADOPTS the Report and Recommendation of the Magistrate Judge as its opinion,
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DISMISSES this case without prejudice, and CLOSES this civii action.

       SO ORDERED this             day of October-5020, at August^ Georgia.


                                                     /f



                                        UNiTED STA/ES DiSTRiCT JUDGE




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